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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                  NO. 4:14CR00151-03 JLH

LINDA PERRY                                                                       DEFENDANT

                                              ORDER

       On September 25, 2014, United States Magistrate Judge Joe J. Volpe appointed CJA Panel

Attorney Lea Ellen Fowler to represent defendant Linda Perry in the above-styled matter. Attorney

Dale Adams filed an entry of appearance as retained counsel on October 10, 2014. Document #65.

       IT IS HEREBY ORDERED that Dale Adams is hereby substituted as retained counsel of

record for defendant Linda Perry, and panel attorney Lea Ellen Fowler is relieved from any further

representation of defendant in this matter.

       IT IS SO ORDERED this 15th day of October, 2014.




                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
